16 F.3d 411NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Daniel Marion SCHROYER, Plaintiff Appellant,v.Officer WHITTLE, Greensville Correctional Center Officer,individually and in her capacities as an officerof DOC, Defendant Appellee.
    No. 93-7083.
    United States Court of Appeals, Fourth Circuit.
    Jan. 14, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Rebecca B. Smith, District Judge.  (CA-93-633-2)
      Daniel Marion Schroyer, Appellant Pro Se.
      E.D.Va.
      Affirmed.
      Before HALL and NIEMEYER, Circuit Judges, and SPROUSE, Senior Circuit Judge.
    
    PER CURIAM
    
      1
      Appellant filed suit under 42 U.S.C. Sec. 1983 (1988).  The district court assessed a filing fee pursuant to  Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and directed the Plaintiff to pay the fee or explain any withdrawals or circumstances warranting excuse from payment.  When Appellant failed to obey this order, the district court dismissed the case without prejudice.   Ballard v. Carlson, 882 F.2d 93 (4th Cir.1989), cert. denied, 493 U.S. 1084 (1990).  Plaintiff appeals.*  Finding no abuse of discretion, we affirm.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         Appellant also appeals from the order denying his motion that the district court judge recuse herself.  Because Appellant failed to show a personal bias resulting from an extra-judicial source,  In re Beard, 811 F.2d 818, 827 (4th Cir.1987), we affirm this order
      
    
    